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                                     BEFORE THE
                           UNITED STATES JUDICIAL PANEL ON
                              MULTIDISTRICT LITIGATION

IN RE: TIKTOK IN-APP BROWSER                             MDL Docket No. 3067
CONSUMER PRIVACY LITIGATION

_______________________________________/

                    SCHEDULE OF POTENTIAL TAG-ALONG ACTION

 No.   Plaintiffs             Defendants District           Civil Action       Judge
                                                            No.
 1     Cinnamon Smith;        TikTok,      Northern         1:23-cv-00134      Judge Thomas
       Alison Paige;          Inc.;        District of                         M. Durkin
       Marrchelle             ByteDance,   Illinois
       Tanzymore; Carolyn     Inc.
       Smith


Dated: January 11, 2023.
                                                  Respectfully submitted,

                                                  /s/ Jeff Ostrow____________
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                                                  (Cinnamon Smith v. TikTok, Inc., et al., No.
                                                  1:23-cv-00134 (N.D. Ill.))
